                    Case 09-40912                         Doc 1         Filed 02/19/09 Entered 02/19/09 20:48:18                                                   Desc Main
B1 (Official Form 1)(1/08)
                                                                           Document Page 1 of 84
                                              United States Bankruptcy Court
                                                          District of Minnesota                                                                                Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Roseth, Jeremy Jay                                                                                       Roseth, Carrie Lea


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-8901                                                                                              xxx-xx-5758
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  11220 Lambert Ct NE                                                                                      11220 Lambert Ct NE
  Hanover, MN                                                                                              Hanover, MN
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     55341                                                                                        55341
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Wright                                                                                                   Wright
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000

Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
                  Case 09-40912                 Doc 1          Filed 02/19/09 Entered 02/19/09 20:48:18                                       Desc Main
B1 (Official Form 1)(1/08)
                                                                  Document Page 2 of 84                                                                                     Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Roseth, Jeremy Jay
(This page must be completed and filed in every case)                                   Roseth, Carrie Lea
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Jeffrey H. Butwinick                          February 19, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Jeffrey H. Butwinick 0342208

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)
                                                                   Document Page 3 of 84                                                                                Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Roseth, Jeremy Jay
(This page must be completed and filed in every case)                                       Roseth, Carrie Lea
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Jeremy Jay Roseth                                                                X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Jeremy Jay Roseth

 X    /s/ Carrie Lea Roseth                                                                    Printed Name of Foreign Representative
     Signature of Joint Debtor Carrie Lea Roseth
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     February 19, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Jeffrey H. Butwinick
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Jeffrey H. Butwinick 0342208                                                             debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Butwinick Law Office
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      1595 Bohland Avenue
                                                                                               Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                            Email: jeff@butwinicklaw.com
      651-210-5055 Fax: 651-204-6775
     Telephone Number
     February 19, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                          Case No.
                                                                                         Debtor(s)      Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Jeremy Jay Roseth
                                                   Jeremy Jay Roseth
 Date:         February 19, 2009




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B 1D(Official Form 1, Exhibit D) (12/08)
                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                          Case No.
                                                                                         Debtor(s)      Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

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B 1D(Official Form 1, Exhibit D) (12/08) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Carrie Lea Roseth
                                                   Carrie Lea Roseth
 Date:         February 19, 2009




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                                  District of Minnesota
  In re          Jeremy Jay Roseth,                                                                                  Case No.
                 Carrie Lea Roseth
                                                                                                                ,
                                                                                               Debtors               Chapter                 7




                                                                      SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS               LIABILITIES              OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1               4,190,000.00


B - Personal Property                                             Yes                 4                  16,300.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                   10,119,238.00


E - Creditors Holding Unsecured                                   Yes                 2                                        115,600.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 22                                   2,014,957.88
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                  567.62
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                  512.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            36


                                                                                Total Assets          4,206,300.00


                                                                                                 Total Liabilities        12,249,795.88




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
  In re           Jeremy Jay Roseth,                                                                                   Case No.
                  Carrie Lea Roseth
                                                                                                              ,
                                                                                           Debtors                     Chapter               7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                      Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                          115,600.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                   TOTAL                  115,600.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                           567.62

              Average Expenses (from Schedule J, Line 18)                                                         512.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                            590.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                  2,640,000.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                          115,600.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            2,014,957.88

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        4,654,957.88




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B6A (Official Form 6A) (12/07)


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  In re          Jeremy Jay Roseth,                                                                                 Case No.
                 Carrie Lea Roseth
                                                                                                        ,
                                                                                          Debtors
                                                                SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption

Residence: Primary residence was foreclosed                                                                 H                    Unknown                682,774.00
Location: 17688 79th Pl N Maple Grove, MN 55311

Other: Home that I built was foreclosed                                                                     H                    Unknown             2,600,000.00
Location: 5912 Vernon Ave S Edina, MN 55436

Other: Office Building. Have not heard on this                                                              H                   190,000.00              200,000.00
foreclosure was done as an SBA loan through M & I
Bank
Location: 5501 Bass Lake Rd Crystal, MN

Other: Town home development Foreclosure in                                                                 H                  4,000,000.00          6,630,000.00
process
Location: 200 unit devrlopment in Mobtrose, MN
The Preserve of Montrose
Multiple addresses assigned




                                                                                                        Sub-Total >        4,190,000.00         (Total of this page)

                                                                                                                Total >    4,190,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Jeremy Jay Roseth,                                                                                     Case No.
                 Carrie Lea Roseth
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Location: 11220 Lambert Ct NE, Hanover MN                         J                            50.00

2.     Checking, savings or other financial                      Bank Account: This is my wifes checking account                   W                           200.00
       accounts, certificates of deposit, or                     only
       shares in banks, savings and loan,                        Location: Associated Bank Maple Grove
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          TV, furniture, telephone, DVD, dishes, appliances                 J                        2,000.00
       including audio, video, and                               Location: 11220 Lambert Ct NE, Hanover MN
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Location: 11220 Lambert Ct NE, Hanover MN                         H                           900.00

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                        Browning BAR 30-6                                                 J                           800.00
       and other hobby equipment.                                Location: 11220 Lambert Ct NE, Hanover MN

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >            3,950.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Jeremy Jay Roseth,                                                                                     Case No.
                 Carrie Lea Roseth
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor                        2007 Tax Return & Stimulus Payment                                J                        2,600.00
    including tax refunds. Give particulars.                     Location: 11220 Lambert Ct NE, Hanover MN

                                                                 2008 Tax Return, Estimated                                        J                        2,000.00
                                                                 Location: 11220 Lambert Ct NE, Hanover MN

19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.




                                                                                                                                   Sub-Total >            4,600.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Jeremy Jay Roseth,                                                                                     Case No.
                 Carrie Lea Roseth
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           Auto: 2004 Jeep Liberty 45,000+ miles good                        W                        7,500.00
    other vehicles and accessories.                              condition
                                                                 Location: 11220 Lambert Ct NE, Hanover MN

                                                                 Snowmobile Trailer                                                J                           250.00
                                                                 Location: 11220 Lambert Ct NE, Hanover MN

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.



                                                                                                                                   Sub-Total >            7,750.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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  In re          Jeremy Jay Roseth,                                                                                     Case No.
                 Carrie Lea Roseth
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         16,300.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (12/07)


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   In re          Jeremy Jay Roseth,                                                                                     Case No.
                  Carrie Lea Roseth
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of           Current Value of
                    Description of Property                                               Each Exemption                       Claimed            Property Without
                                                                                                                              Exemption         Deducting Exemption
Cash on Hand
Location: 11220 Lambert Ct NE, Hanover MN                                        11 U.S.C. § 522(d)(5)                                 50.00                       50.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Bank Account: This is my wifes checking           11 U.S.C. § 522(d)(5)                                                               200.00                     200.00
account only
Location: Associated Bank Maple Grove

Household Goods and Furnishings
TV, furniture, telephone, DVD, dishes,                                           11 U.S.C. § 522(d)(3)                              2,000.00                  2,000.00
appliances
Location: 11220 Lambert Ct NE, Hanover MN

Wearing Apparel
Location: 11220 Lambert Ct NE, Hanover MN                                        11 U.S.C. § 522(d)(5)                                900.00                     900.00

Firearms and Sports, Photographic and Other Hobby Equipment
Browning BAR 30-6                               11 U.S.C. § 522(d)(5)                                                                 800.00                     800.00
Location: 11220 Lambert Ct NE, Hanover MN

Other Liquidated Debts Owing Debtor Including Tax Refund
2007 Tax Return & Stimulus Payment               11 U.S.C. § 522(d)(5)                                                              2,600.00                  2,600.00
Location: 11220 Lambert Ct NE, Hanover MN

2008 Tax Return, Estimated                                                       11 U.S.C. § 522(d)(5)                              2,000.00                  2,000.00
Location: 11220 Lambert Ct NE, Hanover MN

Automobiles, Trucks, Trailers, and Other Vehicles
Auto: 2004 Jeep Liberty 45,000+ miles good                                       11 U.S.C. § 522(d)(2)                              3,000.00                  7,500.00
condition
Location: 11220 Lambert Ct NE, Hanover MN

Snowmobile Trailer                                                               11 U.S.C. § 522(d)(2)                                250.00                     500.00
Location: 11220 Lambert Ct NE, Hanover MN




                                                                                                                Total:             11,800.00                 16,550.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          Jeremy Jay Roseth,                                                                                              Case No.
                  Carrie Lea Roseth
                                                                                                                     ,
                                                                                                     Debtors
                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                           I    Q   U                       PORTION, IF
                                                                T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                  SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxxxxxxx0794                                               Opened 4/01/06 Last Active 3/01/07                         E
                                                                                                                                   D

American Home Mtg Srv                                                   Other: Home that I built was foreclosed
Attn: Bankruptcy                                                        Location: 5912 Vernon Ave S Edina, MN
4600 Regent Blvd                                                        55436
                                                                    H
Irving, TX 75063

                                                                         Value $                               Unknown                        2,340,000.00           Unknown
Account No. xxxxxx5841                                                  Opened 12/01/04 Last Active 12/18/08

Harris N.a.                                                           Auto: 2004 Jeep Liberty 45,000+ miles
111 W Monroe St                                                       good condition
Chicago, IL 60690                                                     Location: 11220 Lambert Ct NE, Hanover
                                                                    J MN

                                                                         Value $                               7,500.00                          6,464.00                    0.00
Account No. xx7729                                                    2006
                                                                      Mortgage
                                                                      Other: Town home development
Lakeland Construction Finance                                         Foreclosure in process
7830 Main Street #210                                                 Location: 200 unit devrlopment in
Maple Grove, MN 55369                                                 Mobtrose, MN
                                                                    J The Preserve of Montrose
                                                                      Multiple addresses assigned
                                                                         Value $                         4,000,000.00                         6,630,000.00       2,630,000.00
Account No. xxx1372                                                     2007

LTD Financial Services (EMC                                           Residence: Primary residence was
Mortgage)                                                             foreclosed
7322 Southwest Freeway #1600                                          Location: 17688 79th Pl N Maple Grove,
                                                                    J MN 55311
Houston, TX 77074

                                                                         Value $                               Unknown                         185,000.00            Unknown
                                                                                                                           Subtotal
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_____ continuation sheets attached                                                                                                           9,161,464.00        2,630,000.00
                                                                                                                  (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                              Case No.
                  Carrie Lea Roseth
                                                                                                                     ,
                                                                                                     Debtors

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT         UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                          ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. (SBA Real Estate & Accounts)                              2006                                                         E
                                                                      Mortgage                                                     D

M & I Bank                                                            Other: Office Building. Have not heard
11915 Elm Creek Blvd                                                  on this foreclosure was done as an SBA
                                                                      loan through M & I Bank
Maple Grove, MN 55369
                                                                    J Location: 5501 Bass Lake Rd Crystal,
                                                                      MN
                                                                         Value $                           190,000.00                          200,000.00            10,000.00
Account No. xxxxx4850                                                   2007

Prime Security Bank                                                     Other: Home that I built was foreclosed
1305 Vierling Drive                                                     Location: 5912 Vernon Ave S Edina, MN
Shakopee, MN 55379                                                      55436
                                                                    J

                                                                         Value $                               Unknown                         260,000.00            Unknown
Account No. xxxxx7015                                                   Opened 4/01/06 Last Active 12/01/08

Real Time Resolutions                                                 Residence: Primary residence was
1750 Regal Row                                                        foreclosed
Dallas, TX 75235                                                      Location: 17688 79th Pl N Maple Grove,
                                                                    H MN 55311

                                                                         Value $                               Unknown                         497,774.00            Unknown
Account No.




                                                                         Value $
Account No.




                                                                         Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               957,774.00            10,000.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)
                                                                                                                             Total           10,119,238.00       2,640,000.00
                                                                                                   (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)


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  In re          Jeremy Jay Roseth,                                                                                       Case No.
                 Carrie Lea Roseth
                                                                                                              ,
                                                                                           Debtors
                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1   continuation sheets attached
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                      Case 09-40912                      Doc 1            Filed 02/19/09 Entered 02/19/09 20:48:18                               Desc Main
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   In re          Jeremy Jay Roseth,                                                                                             Case No.
                  Carrie Lea Roseth
                                                                                                                    ,
                                                                                                     Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No. xx-xxx-xx-xx-0057                                           2001-2008                                                 E
                                                                                                                                  D

Hennepin County Treasurer                                               Property Tax Property Tax for 17688 79th
A600 Government Center                                                  Pl N Maple Grove, MN                                                                 0.00
Minneapolis, MN 55487
                                                                    J

                                                                                                                                                50,000.00            50,000.00
Account No. CP171                                                       2005-2006

IRS                                                                     Other Taxes Payroll Tax for Guaranteed
PO Box 9941 Stop 5300                                                   Mortgage                                                                             0.00
Ogden, UT 84409
                                                                    J

                                                                                                                                                45,000.00            45,000.00
Account No. xxx6415                                                     2006

Minnesota Revenue                                                       Other Taxes Guaranteed Mortgage
PO Box 64651                                                            Payroll Tax State                                                                    0.00
St. Paul, MN 55164
                                                                    J

                                                                                                                                                14,000.00            14,000.00
Account No. xxx5378                                                     2007

UI Minnesota                                                            Other Taxes
PO Box 64621                                                                                                                                                 0.00
St. Paul, MN 55164
                                                                    J

                                                                                                                                                 4,000.00              4,000.00
Account No. xxx5554                                                     2006

UI Minnesota                                                            Other Taxes
PO Box 64621                                                                                                                                                 0.00
St. Paul, MN 55164
                                                                    J

                                                                                                                                                 2,600.00              2,600.00
       1
Sheet _____    1
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)          115,600.00           115,600.00
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)            115,600.00           115,600.00

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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. REGxxx-0006                                                                  2007                                                T   T
                                                                                                                                                 E
                                                                                         Mechanic's Lien                                         D

ABC
18800 West 78th Street PO Box 0950                                                   J
Chanhassen, MN 55317

                                                                                                                                                                         8,600.00
Account No. xx6541                                                                       2007
                                                                                         Mechanic's Lien
ABC
352 3rd St Excelsior, MN 55331                                                       J
Excelsior, MN 55331

                                                                                                                                                                         2,430.00
Account No. x2595                                                                        2007
                                                                                         Other Bill
Allegra
8455 Xerxes Avenue North                                                             J
Brooklyn Park, MN 55444

                                                                                                                                                                           163.00
Account No. xxxxxxxx / xxxxx6430                                                         2007
                                                                                         Medical Bill Mediacal Bill
American Accounts Advisers(Partners
/ Cl                                                                                 J
3904 Cedarvale Drive
Eagan, MN 55122
                                                                                                                                                                           845.00

                                                                                                                                           Subtotal
 21 continuation sheets attached
_____                                                                                                                                                                  12,038.00
                                                                                                                                 (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. Unknown                                                                      2007                                                    E
                                                                                         Judgment Lien Was my attorney defending                 D

Babcock Neilson Mannella Klint                                                           multiple lawsuits
118 East Main Street                                                                 J
Anoka, MN 55303

                                                                                                                                                                    12,000.00
Account No. xxxxxxxxxxxx7570                                                             2007
                                                                                         Credit Card
Bank of America
PO Box 15726 Willmington, DE                                                         J
19886-5726
Willmington, DE 19886-5726
                                                                                                                                                                    18,000.00
Account No. Unknown                                                                      2007
                                                                                         Other Bill Dumpster Bill from Ray Anderson
BCA Inc                                                                                  And Sons assigned to BCA Inc for collections
PO Box 60 Monticello, MN 55362                                                       H
Monticello, MN 55362

                                                                                                                                                                      1,708.00
Account No. xxxx0453                                                                     2007
                                                                                         Other Bill
Beaudry Oil
630 Proctor Ave                                                                      J
Elk River, MN 55330

                                                                                                                                                                      1,074.00
Account No. xx8703                                                                       2008
                                                                                         Other Bill Dumpster Bill
Berquist and Sons
8579 Bower Court East                                                                J
Inver Grove Heights, MN 55076

                                                                                                                                                                        235.00

           1
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    33,017.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. x7831                                                                      2007                                                      E
                                                                                       Mechanic's Lien Isanti Electric Assigned to               D

Biorn Corporation                                                                      Biorn Corporation. Electrician Bill for 6839
PO Box 464 Rockford                                                                  J Alpine Trail Eden Prairie, MN & 5912 Vernon
Rockford, MN 55373                                                                     Ave S Edina, MN


                                                                                                                                                                    38,000.00
Account No. xXxxx0009                                                                    2007
                                                                                         Medical Bill
Blue Cross Blue Shield
3535 Blue Cross Road Route M103                                                      J
Eagan, MN 55122

                                                                                                                                                                        555.00
Account No. xSxx50A08                                                                    2007
                                                                                         Medical Bill
Blue Cross Blue Shield
3535 Blue Cross Road Route M103                                                      J
Eagan, MN 55122

                                                                                                                                                                      2,627.00
Account No. xxxx5237                                                                     2008
                                                                                         Medical Bill
Buffalo Clinic
11091 Jason Ave NE                                                                   J
Albertville, MN 55301

                                                                                                                                                                           6.00
Account No. xxxxxxxxxxxxx2994                                                            Opened 12/01/07
                                                                                         CollectionAttorney Maryland National Bank
Cach Llc                                                                                 N.A.
Attention: Bankruptcy Department                                                     H
4340 South Monaco St. 2nd Floor
Denver, CO 80237
                                                                                                                                                                    17,467.00

           2
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    58,655.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx9418                                                                     Opened 3/01/08                                          E
                                                                                         CollectionAttorney Sprint Pcs                           D

Calvary Portfolio Services
Attention: Bankruptcy Department                                                     J
Po Box 1017
Hawthorne, NY 10532
                                                                                                                                                                        338.00
Account No. xxxxxxxx6801                                                                 Opened 6/01/05 Last Active 4/20/07
                                                                                         CreditCard
Capital 1 Bank
Attn: C/O TSYS Debt Management                                                       J
Po Box 5155
Norcross, GA 30091
                                                                                                                                                                      7,165.00
Account No. xxxxxxxxxxxx0640                                                             2006
                                                                                         Credit Card Credit Card
Capital One Bank
PO Box 60024                                                                         J
Industry, CA 91716

                                                                                                                                                                      5,800.00
Account No. xxxxxxxxxxxx7750                                                             2006
                                                                                         Credit Card
Capital One Bank
PO Box 60024 Industry                                                                J
Industry, CA 91716

                                                                                                                                                                        220.00
Account No. xxxxxxxxxxxx0110                                                           2006
                                                                                       Credit Card Credit Card Assigned to Allied
Capital One Bank                                                                       Interstate for collection PO Box 16336 West
PO Box 60024 Industry, CA 91716                                                      J Palm Beach, Florida
Industry, CA 91716

                                                                                                                                                                      1,070.00

           3
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    14,593.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                            Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                             O                                                               O   N   I
                    MAILING ADDRESS                                              D   H                                                           N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                     T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                 N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                 G   I   E
                   (See instructions above.)                                     R                                                               E   D   D
                                                                                                                                                 N   A
                                                                                                                                                 T   T
Account No. xxxx427-2                                                                    2007                                                        E
                                                                                         Utility Bill Utility Bill for property address              D

Centerpoint Energy                                                                       17688 79th Pl N Maple Grove, MN 55311
PO Box 1144                                                                          J
Minneapolis, MN 55440

                                                                                                                                                                            462.00
Account No. xxxx202-0                                                                    2007
                                                                                         Utility Bill Utility bill for property located at
Centerpoint Energy                                                                       5912 Vernon Ave S Edina, MN 55436
PO Box 1144                                                                          J
Minneapolis, MN 55440

                                                                                                                                                                          3,280.00
Account No. xxxx573-1                                                                    2008
                                                                                         Utility Bill
Centerpoint Energy
PO Box 1144                                                                          J
Minneapolis, MN 55440

                                                                                                                                                                          1,400.00
Account No. xxxx544-5                                                                    2007
                                                                                         Utility Bill
Centerpoint Energy
PO Box 1144                                                                          J
Minneapolis, MN 55440

                                                                                                                                                                          1,800.00
Account No. xxxx502-9                                                                    2007
                                                                                         Utility Bill
Centerpoint Energy
PO Box 1144 Minneapolis, MN 55440                                                    J
Minneapolis, MN 55440

                                                                                                                                                                          1,052.00

           4
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                       Subtotal
                                                                                                                                                                          7,994.00
Creditors Holding Unsecured Nonpriority Claims                                                                                       (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx932-1                                                                    2007                                                    E
                                                                                         Utility Bill                                            D

Centerpoint Energy
PO Box 1144                                                                          J
Minneapolis, MN 55440

                                                                                                                                                                        405.00
Account No. xxxx845-6                                                                    2007
                                                                                         Utility Bill
Centerpoint Energy
PO Box 1144 Minneapolis, MN 55440                                                    J
Minneapolis, MN 55440

                                                                                                                                                                          47.00
Account No. xxxxxxxx2090                                                                 Opened 10/01/96 Last Active 4/20/07
                                                                                         CreditCard
Chase - Cc
Attention: Banktruptcy Department                                                    J
Po Box 15298
Wilmintgon, DE 19850
                                                                                                                                                                      7,807.00
Account No. xxxxx0911                                                                    2008
                                                                                         Other Bill
ChexSystems
Trust Dept. 2691                                                                     J
Los Angeles, CA 90084-2691

                                                                                                                                                                          24.95
Account No. xxxx5705                                                                     2007
                                                                                         Utility Bill
City of Crystal
4141 Douglas Drive N                                                                 J
Crystal, MN 55422

                                                                                                                                                                        630.00

           5
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      8,913.95
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xx-xxxx-x0-8-03                                                              2007                                                    E
                                                                                         Utility Bill Water Bill for 5912 Vernon Ave S           D

City of Edina                                                                            Edina, MN 55424
4801 West 50th St.                                                                   J
Edina, MN 55424

                                                                                                                                                                        505.00
Account No. xxxxxxxxxx-xxxx6281                                                          2007
                                                                                         Utility Bill
City of Maple Grove
PO Box 1180                                                                          J
Maple Grove, MN 55311

                                                                                                                                                                        318.00
Account No. xx-xxx6.309                                                                  2007
                                                                                         Utility Bill Water Bill
City of Minneapolis
250 S. Fourth St. #230                                                               J
Minneapolis, MN 55415

                                                                                                                                                                        125.00
Account No. xx-xxx0.308                                                                  2007
                                                                                         Utility Bill
City of Minneapolis
PO Box 15027                                                                         J
Minneapolis, MN 55415

                                                                                                                                                                           4.40
Account No. xxx80-00                                                                     2006
                                                                                         Utility Bill
City of Otsego
8899 Nashua Avenue NE                                                                J
Otsego, MN 55330

                                                                                                                                                                          20.00

           6
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                        972.40
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. x6719                                                                        2007                                                    E
                                                                                         Other Bill                                              D

CMI (Meyers Internet)
PO Box 28851 Philadelphia, PA 19151                                                  J
Philadelphia, PA 19151

                                                                                                                                                                        944.00
Account No. xxxxxx-xx0736                                                                2006
                                                                                         Utility Bill
Connexus Energy
PO Box 1808                                                                          J
Minneapolis, MN 55480

                                                                                                                                                                        236.00
Account No. x4771                                                                        2007
                                                                                         Mechanic's Lien
County Materials Corporation
205 North Street PO Box 100                                                          J
Marathon, WI
Marathon, WI 54448
                                                                                                                                                                      4,302.00
Account No. xxxxxx8901                                                                   2007
                                                                                         Other Bill
Credit Collection Services (Allstate)
PO Box 52677                                                                         J
Phoenix, AZ 85072

                                                                                                                                                                        222.00
Account No. xxxxxx2187                                                                   2007
                                                                                         Other Bill
Credit Collection Services(Liberty
Mut.)                                                                                J
Two Wells Avenue, Dept. 9134
Newton, MN 02459
                                                                                                                                                                      1,217.00

           7
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      6,921.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              2007                                                    E
                                                                                         Mechanic's Lien                                         D

CW Houle
1300 West County Road I                                                              J
Shoreview, MN 55126

                                                                                                                                                                  782,212.00
Account No. x7159                                                                        2007
                                                                                         Other Bill
D.S. Erickson (Culligan Water)
30 North First Street #400                                                           J
Minneapolis, MN 55401

                                                                                                                                                                        409.00
Account No. x4793                                                                        2007
                                                                                         Medical Bill
D.S. Erickson (North Clinic)
30 North First Street #400                                                           J
Minneapolis, MN 55401

                                                                                                                                                                        981.00
Account No.                                                                              2007
                                                                                         Other Bill
Daves Floor Sanding
1451 92nd Lane NE                                                                    J
Blaine, MN 55449

                                                                                                                                                                      1,512.00
Account No. xxxx2050                                                                     2008
                                                                                         Other Bill
Direct TV
PO Box 78626 Phoenix, AZ 85062-8626                                                  J
Phoenix, AZ 85062-8626

                                                                                                                                                                      1,000.00

           8
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  786,114.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                      Case 09-40912                      Doc 1            Filed 02/19/09 Entered 02/19/09 20:48:18                            Desc Main
                                                                            Document Page 29 of 84
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              2006                                                    E
                                                                                         Mechanic's Lien                                         D

DJ's Companies Inc
6060 Labeaux Avenu NE Albertville                                                    J
Albertville, MN 55301

                                                                                                                                                                    35,000.00
Account No.                                                                              2007
                                                                                         Mechanic's Lien
DML Inc Plumbing
8529 Lake Jane Trail N Lake Elmo, MN                                                 J
550
Lake Elmo, MN 55042
                                                                                                                                                                      2,300.00
Account No.                                                                            2007
                                                                                       Judgment Lien This is Attorney who
Donald Willeke (Jaffert Mueller)                                                       represents Jaffert Mueller Architects Mechanic
201 Ridgewood Avenue                                                                 J Lien against Regal custom Homes, Inc &
Minneapolis, MN 55403                                                                  myself for the preserve of montrose


                                                                                                                                                                    20,000.00
Account No. xxx-xxx-xxx2-179                                                             2008
                                                                                         Utility Bill
Embarq
PO Box 660068                                                                        J
Dallas, TX 75266-0068

                                                                                                                                                                        500.00
Account No. xxxxxxxxx1372                                                                Opened 3/01/04 Last Active 3/01/07
                                                                                         Unsecured
Emc Mortgage
Attention: Bankruptcy Clerk                                                          H
Po Box 293150
Lewisville, TX 75029
                                                                                                                                                                  173,014.00

           9
Sheet no. _____     21 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  230,814.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                                                                            Document Page 30 of 84
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              2007                                                    E
                                                                                         Mechanic's Lien                                         D

Erickson Plumbing
1471 92nd Lane NE Blaine MN 55449                                                    J
Blaine, MN 55449

                                                                                                                                                                        186.00
Account No. R-xxxx7811                                                                   2007
                                                                                         Utility Bill
ERS Solutions (Centerpoint)
PO Box 9004 Renton Wa 98057                                                          J
Renton, WA 98057

                                                                                                                                                                      3,300.00
Account No. xx-xxxx148-8                                                                 2007
                                                                                         Utility Bill
Excel Energy
PO Box 9477                                                                          J
Minneapolis, MN 55484

                                                                                                                                                                        190.00
Account No. xx-xxxx648-2                                                                 2007
                                                                                         Utility Bill
Excel Energy
PO Box 9477                                                                          J
Minneapolis, MN 55484

                                                                                                                                                                        286.00
Account No. xx-xxxx367-2                                                                 2007
                                                                                         Utility Bill
Excel Energy
PO Box 9477 Minneapolis, MN 55484                                                    J
Minneapolis, MN 55484

                                                                                                                                                                        186.00

           10 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                      4,148.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                                                                            Document Page 31 of 84
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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxx960-9                                                                 2007                                                      E
                                                                                         Utility Bill Electric Bill for home foreclosed            D

Excel Energy                                                                             5912 Vernon Ave S Edina, MN
PO Box 9477 Minneapolis, MN 55484                                                    J
Minneapolis, MN 55484

                                                                                                                                                                        7,500.00
Account No. xxxxxx648-2                                                                2007
                                                                                       Utility Bill Electric Bill for 6847 Alpine Trail.
Excel Energy                                                                           Home was deeded to investor to avoid
PO Box 9477                                                                          J foreclosure
Minneapolis, MN 55484

                                                                                                                                                                          329.00
Account No.                                                                              2007
                                                                                         Other Bill
Financial Network Recovery (Core
Logic)                                                                               J
PO Box 940730
Simi Valley, CA 93094
                                                                                                                                                                          584.00
Account No. xxxxxxxxxxxxxxxx0000                                                         2007
                                                                                         Other Bill
First Collection Services(Centerpoint)
10925 Otter Creek E Blvd                                                             J
Mabelvale, AR 72103

                                                                                                                                                                        1,800.00
Account No.                                                                              2008
                                                                                         Other Bill Overdraft for Land Ventures, LLC
First Minnesota Bank                                                                     may have personal Liability
106 E 4th St PO Box 960                                                              J
Monticello, MN 55362

                                                                                                                                                                          100.00

           11 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                         Subtotal
                                                                                                                                                                      10,313.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxxxxxx6408                                                             Opened 1/01/09 Last Active 1/01/09                      E
                                                                                         CreditCard                                              D

First Premier Bank
601 S Minnesota Ave                                                                  J
Sioux Falls, SD 57104

                                                                                                                                                                        179.00
Account No. xxxxxxxxxxxxxxxxxxxxxx0000                                                   2008
                                                                                         Car Loan Claimed deficiancy after reposession
Ford Credit
PO Box 6508                                                                          J
Mesa, AZ 85216

                                                                                                                                                                      3,400.00
Account No. xxxx9884                                                                     Opened 6/01/03 Last Active 5/09/08
                                                                                         Automobile
Ford Motor Credit Corporation
National Bankruptcy Center                                                           H
Po Box 537901
Livonia, MI 48153
                                                                                                                                                                      3,396.00
Account No. xx6558                                                                       2006
                                                                                         Other Bill
Greenspan & Douglas (Croix Design)
2921 E. Ft Lowell Rd #113                                                            J
Tucson, AZ 85716

                                                                                                                                                                      3,110.00
Account No.                                                                              2007
                                                                                         Mechanic's Lien
Gries & Lenhardt (Final Touch
Excavating                                                                           J
12725 43rd St. NE #201 St. Michael,
MN 5
St. Michael, MN 55376                                                                                                                                               11,500.00

           12 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                    21,585.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xx8525                                                                       2007                                                    E
                                                                                         Other Bill Legal Fees for Pinnacle Worldwide            D

Higgs Fletcher & Mack                                                                    Investments, LLC may have personal liability
401 West A. Street #2600 PO Box                                                      J
120568
San Diego, CA 92112
                                                                                                                                                                      1,600.00
Account No. xx3282                                                                       2007
                                                                                         Utility Bill Corporate Phone Bill for Guaranteed
Integra                                                                                  Mortgage, Inc. May have personal guaranty
1201 NE Loyd Blvd #500 Portland, Or                                                  J
9723
Portland, OR 97232
                                                                                                                                                                    23,000.00
Account No. xx-xxx0055                                                                   2008
                                                                                         Utility Bill Water Bill for 11220 Lambert Ct Ne
Joint Powers                                                                             Hanover, MN 55341
11100 50th St. NE Albertville, MN                                                    J
55301
Albertville, MN 55301
                                                                                                                                                                        300.00
Account No. xxxxxx7002                                                                   2006
                                                                                         Judgment Lien
Kenneth Schivone (GE Capital)
1942 Lexington Ave North Suite 1                                                     J
Rosevil
Roseville, MN 55113
                                                                                                                                                                    44,000.00
Account No.                                                                              2007
                                                                                         Other Bill
Lafond Appraisals
5619 Dunlap Ave Shoreview, MN 55126                                                  J
Shoreview, MN 55126

                                                                                                                                                                      4,500.00

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Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                    73,400.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. FC-x3480                                                                     2007                                                    E
                                                                                         Other Bill                                              D

Land America
2 Concourse Pkwy #400                                                                J
Atlanta, GA 30328

                                                                                                                                                                        770.00
Account No. xxxxxxxxxxxxx2200                                                            2007
                                                                                         Other Bill
Landsafe
PO Box 650530                                                                        J
Dallas, TX 75265-9407

                                                                                                                                                                      1,029.00
Account No. xx15-01                                                                      2007
                                                                                         Other Bill
Leslie A. Anderson
3300 Cty Road 10 Suite 510                                                           J
Brooklyn Center, MN 55429

                                                                                                                                                                        180.00
Account No. YS4302                                                                       2007
                                                                                         Medical Bill
Lofstrom Law Firm (Park Dental)
PO Box 21123                                                                         J
Columbia Heights, MN 55421

                                                                                                                                                                      1,310.00
Account No. x5819                                                                        2007
                                                                                         Mechanic's Lien
Lot Surveys
7601 73rd Ave N Minneapolis, MN                                                      J
55428
Minneapolis, MN 55428
                                                                                                                                                                        815.00

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Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                      4,104.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                                                                            Document Page 35 of 84
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xx6677                                                                       2007                                                    E
                                                                                         Mechanic's Lien                                         D

Lyman Lumber
PO Box 130 Chanhassen MN 55317                                                       J
Chanhassen, MN 55317

                                                                                                                                                                    10,000.00
Account No. 968-9                                                                        2007
                                                                                         Mechanic's Lien
M & D Plumbing
11050 26th St NE                                                                     J
St. Michael, MN 55376

                                                                                                                                                                    30,000.00
Account No. xx-CV-x6-41 0                                                                2006
                                                                                         Judgment Lien
Malone & Melander (Tutt
Construction)                                                                        J
2605 Broadway Ave PO Box 256
Slayton, MN 56127-0256
                                                                                                                                                                  360,000.00
Account No. xxxxxxxxxxxx0110                                                             2006
                                                                                         Credit Card Capital One Credit Card assigned
Messerli & Kramer                                                                        to Messerli & Kramer
3033 Campus Drive #250                                                               J
Plymouth, MN 55441

                                                                                                                                                                      1,470.00
Account No. xxxx5280                                                                     2007
                                                                                         Medical Bill
Minneapolis Radiology
2800 Campus Dr #10                                                                   J
Plymouth, MN 55441

                                                                                                                                                                        370.00

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Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                  401,840.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                      Case 09-40912                      Doc 1            Filed 02/19/09 Entered 02/19/09 20:48:18                            Desc Main
                                                                            Document Page 36 of 84
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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xx-x6386                                                                     2007                                                    E
                                                                                         Mechanic's Lien                                         D

Morgan Stone & Assoc.
(Waterproofing Inc                                                                   J
1005 Veterans Memorial Blvd #202
Kenner, LA 70062
                                                                                                                                                                      4,100.00
Account No. xxxxxxxxxxxx8280                                                             2007
                                                                                         Credit Card
National City Bank
PO Box 500                                                                           J
Potage, MI 49081

                                                                                                                                                                      3,100.00
Account No. xxxxxxxx1142                                                                 Opened 10/01/96 Last Active 4/20/07
                                                                                         CreditCard
Natl City Credit Card Services
Attention: Bankruptcy Department                                                     J
6750 Miller Road
Brecksville, OH 44141
                                                                                                                                                                      3,605.00
Account No. xxx8562                                                                      2006
                                                                                         Utility Bill
NCO Financial Systems (Cenetrpoint)
507 Prudential Road                                                                  J
Horsham, PA 19044

                                                                                                                                                                      1,416.00
Account No. xx4745                                                                       2007
                                                                                         Medical Bill
North Clinic
3366 Oakdale Avenue North                                                            J
Robbinsdale, MN 55422

                                                                                                                                                                      1,000.00

           16 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                    13,221.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                      Case 09-40912                      Doc 1            Filed 02/19/09 Entered 02/19/09 20:48:18                            Desc Main
                                                                            Document Page 37 of 84
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 99GBCR                                                                       Wright Hennepin Coop Electrica                          E
                                                                                                                                                 D

Ntl Recovery
14735 Highway 65 N E                                                                 H
Ham Lake, MN 55304

                                                                                                                                                                        706.00
Account No. xxx8581                                                                      Med1 Park Dental Maple Grove 25

Pinnacle Fin
7825 Washington Av                                                                   J
Minneapolis, MN 55439

                                                                                                                                                                        200.00
Account No. x-xxx307-9                                                                   2008
                                                                                         Utility Bill
Randy's Environmental Services
PO Box 1058 Delano, MN 55328-1058                                                    J
Delano, MN 55328-1058

                                                                                                                                                                          53.78
Account No. xxxx3545                                                                     2007
                                                                                         Other Bill
Ray Anderson & Sons
930 Duluth Street St. Paul, MN 55106                                                 J
St. Paul, MN 55106

                                                                                                                                                                      3,073.00
Account No. Mxxxx x0240                                                                  2007
                                                                                         Other Bill
Real Estate Book
4820 Minnetonka Blvd #104                                                            J
St. Louis Park, MN 55416

                                                                                                                                                                        800.00

           17 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                      4,832.78
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxx3759                                                                      2006                                                    E
                                                                                         Medical Bill                                            D

Reliance Recoveries (Childerens
Hospital                                                                             J
6160 Summit Drive Suite 420 Brooklyn
Cen
Brooklyn Center, MN 55430                                                                                                                                             5,300.00
Account No.                                                                              2007
                                                                                         Judgment Lien
Rinke Noonan (Simonson Lumber)
1015 W. St. Germain Street                                                           J
St. Cloud, MN 56302

                                                                                                                                                                  210,000.00
Account No. xx7338                                                                       2006
                                                                                         Utility Bill
Rose & Arneson (Wright Hennepin
Electric                                                                             J
921 Mainstreet PO Box 5560
Hopkins, MN 55343
                                                                                                                                                                        520.00
Account No. xx-CV-xxxx8508                                                               2007
                                                                                         Judgment Lien
Smith Paulson Odonnell (Merit
Drywall)                                                                             J
PO Box 668 201 West Seventh Street
Monti
Monticello, MN 55362                                                                                                                                                61,000.00
Account No. xxxx0015                                                                     2007
                                                                                         Judgment Lien
State of Minnesota (Custom Door
Sales)                                                                               J
350 South 5th Street
Minneapolis, MN 55415
                                                                                                                                                                      4,900.00

           18 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                  281,720.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. C6316                                                                        2007                                                    E
                                                                                         Mechanic's Lien                                         D

STS Consultants
PO Box 1238                                                                          J
Bedford Park, IL 60499

                                                                                                                                                                      2,600.00
Account No.                                                                              2007
                                                                                         Other Bill
Superior Painting
9031 Victoria Gardens                                                                J
Brooklyn Park, MN 55428

                                                                                                                                                                    17,000.00
Account No. x2007                                                                        2006
                                                                                         Other Bill
Svoboda
2477 Shadywood Road                                                                  J
Excelsior, MN 55311

                                                                                                                                                                        337.00
Account No. xxx2809                                                                      2006
                                                                                         Other Bill
Talx
4076 Paysphere Circle, IL 60674                                                      J
Circle, IL 60674

                                                                                                                                                                          38.00
Account No. x3807                                                                        2006
                                                                                         Medical Bill
The Childerens Heart Clinic
2545 Chicago Ave S #106 Minneapolis,                                                 J
MN
Minneapolis, MN 55404
                                                                                                                                                                      8,000.00

           19 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                    27,975.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Jeremy Jay Roseth,                                                                                          Case No.
                  Carrie Lea Roseth
                                                                                                                          ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxx-xxxxxx7472                                                             2007                                                    E
                                                                                         Other Bill                                              D

Transword Systems (Cartier Lighting)
1611 West County Road B #306                                                         J
St. Paul, MN 55113

                                                                                                                                                                      2,700.00
Account No. xxxxx-xxxxxx1770                                                             2007
                                                                                         Other Bill
Transword Systems (Conway Deuth?)
1611 West County Road B #306                                                         J
St. Paul, MN 55113

                                                                                                                                                                        489.00
Account No.                                                                              2007
                                                                                         Other Bill
United Guaranty
230 N. Elm Street/27401 PO Box 21367                                                 J
Grrensboro, NC 27420

                                                                                                                                                                      1,310.00
Account No. Cx0939                                                                       2007
                                                                                         Credit Card
Viking Collection Services(National
City                                                                                 J
PO Box 59207
Minneapolis, MN 55459
                                                                                                                                                                      3,610.00
Account No. xxx-xxxxxxx-x282-3                                                           2007
                                                                                         Utility Bill
Waste Management
12448 Pennsylvania Ave S                                                             J
Savage, MN 55378

                                                                                                                                                                        123.00

           20 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                      8,232.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Jeremy Jay Roseth,                                                                                                Case No.
                  Carrie Lea Roseth
                                                                                                                           ,
                                                                                                        Debtors
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
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                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. x4719                                                                        2007                                                           E
                                                                                         Other Bill                                                     D

Wells Schluter Hanson
7300 France Ave South #215                                                           J
Edina, MN 55435

                                                                                                                                                                               217.00
Account No.                                                                              2007
                                                                                         Other Bill
Wells Schluter Hanson
7300 France Ave South #215                                                           J
Edina, MN 55435

                                                                                                                                                                             1,256.00
Account No. xxxx1248                                                                     2007
                                                                                         Other Bill
West Asset Management
PO Box 2348 Sherman, TX 75091                                                        J
Sherman, TX 75091

                                                                                                                                                                             1,691.00
Account No. xxxxxxx4561                                                                  2007
                                                                                         Utility Bill
Wright Hennepin Electric
PO Box 77027 Minneapolis, MN 55480                                                   J
Minneapolis, MN 55480

                                                                                                                                                                               335.00
Account No. xxx9116                                                                      2006
                                                                                         Other Bill
Wright Way Shopoper
PO Box 5034                                                                          J
Sioux Falls, SD 57117-5034

                                                                                                                                                                                 55.75

           21 of _____
Sheet no. _____    21 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                             3,554.75
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)             2,014,957.88


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B6G (Official Form 6G) (12/07)


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  In re             Jeremy Jay Roseth,                                                                            Case No.
                    Carrie Lea Roseth
                                                                                                       ,
                                                                                      Debtors
                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                                                                           Document Page 43 of 84
B6H (Official Form 6H) (12/07)


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  In re          Jeremy Jay Roseth,                                                                      Case No.
                 Carrie Lea Roseth
                                                                                                 ,
                                                                                      Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                           NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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              Case 09-40912             Doc 1       Filed 02/19/09 Entered 02/19/09 20:48:18                            Desc Main
                                                      Document Page 44 of 84
B6I (Official Form 6I) (12/07)

          Jeremy Jay Roseth
 In re    Carrie Lea Roseth                                                                            Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Daughter                                                  3
                                             Daughter                                                  7 Months
Employment:                                               DEBTOR                                               SPOUSE
Occupation                                                                                   Receptionist
Name of Employer                                                                             Re / Max Associates Plus
How long employed                                                                            1
Address of Employer                                                                          3351 Round Lake Blvd
                                                                                             Anoka, MN 55303
INCOME: (Estimate of average or projected monthly income at time case filed)                               DEBTOR                         SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                          $          0.00            $          617.50
2. Estimate monthly overtime                                                                           $          0.00            $            0.00

3. SUBTOTAL                                                                                              $             0.00       $          617.50

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $           49.88
     b. Insurance                                                                                        $             0.00       $            0.00
     c. Union dues                                                                                       $             0.00       $            0.00
     d. Other (Specify):                                                                                 $             0.00       $            0.00
                                                                                                         $             0.00       $            0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $           49.88

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $          567.62

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $             0.00       $          567.62

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                    $               567.62
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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                                                 Document Page 45 of 84
B6J (Official Form 6J) (12/07)

          Jeremy Jay Roseth
 In re    Carrie Lea Roseth                                                                  Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                  250.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                    0.00
                   b. Water and sewer                                                                       $                    0.00
                   c. Telephone                                                                             $                   40.00
                   d. Other                                                                                 $                    0.00
3. Home maintenance (repairs and upkeep)                                                                    $                    0.00
4. Food                                                                                                     $                  100.00
5. Clothing                                                                                                 $                    0.00
6. Laundry and dry cleaning                                                                                 $                    0.00
7. Medical and dental expenses                                                                              $                    0.00
8. Transportation (not including car payments)                                                              $                   45.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                    0.00
10. Charitable contributions                                                                                $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                    0.00
                   b. Life                                                                                  $                    0.00
                   c. Health                                                                                $                    0.00
                   d. Auto                                                                                  $                   77.00
                   e. Other                                                                                 $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                     0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                  512.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                  567.62
b. Average monthly expenses from Line 18 above                                                              $                  512.00
c. Monthly net income (a. minus b.)                                                                         $                   55.62
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                       Document Page 46 of 84
                                                                  United States Bankruptcy Court
                                                                                 District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                                       Case No.
                                                                                             Debtor(s)               Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                38       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date February 19, 2009                                                         Signature    /s/ Jeremy Jay Roseth
                                                                                             Jeremy Jay Roseth
                                                                                             Debtor


 Date February 19, 2009                                                         Signature    /s/ Carrie Lea Roseth
                                                                                             Carrie Lea Roseth
                                                                                             Joint Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                                 District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                                  Case No.
                                                                                             Debtor(s)          Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income
from the debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                                __________________________________________

                1. Income from employment or operation of business

    None        State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $565.00                                  2009 Gross Income YTD for Business is $0.00 Gross Income for Employment YTD
                                                                    is for Carrie is Approximately $565.00
                           $4,430.39                                Gross Income in 2008 For Business is $0.00 Gross Income from Employment for
                                                                    Carrie is $4,430.39.
                           $0.00                                    2007 - Gross Income for Employment YTD is for Carrie is Approximately $565.00.
                                                                    Gross Income for Business in 2007 is $(-163,261). Gross income for 2007 from
                                                                    Employment for Carrie is $6,037




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                2. Income other than from employment or operation of business

    None        State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income
                for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

                3. Payments to creditors

    None        Complete a. or b., as appropriate, and c.

                a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
                and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
                of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
                creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID             OWING

    None        b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
                both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                     AMOUNT
                                                                                   DATES OF                           PAID OR
                                                                                   PAYMENTS/                        VALUE OF          AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                       TRANSFERS            OWING

    None        c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
                creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT              AMOUNT PAID             OWING

                4. Suits and administrative proceedings, executions, garnishments and attachments

    None        a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
                this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                 NATURE OF PROCEEDING                        AND LOCATION            DISPOSITION

    None        b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY




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                5. Repossessions, foreclosures and returns

    None        List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
                or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY



 American Home Mortgage Services                                        03/01/07                        Home Located at 5912 Vernon Ave S Edina, MN
 4600 Regent Blvd Irving                                                                                55436 $2,000,000
 Irving, TX 75063
 Ford Motor Credit Corporation                                          05/09/2008                      2003 Ford F-150
 PO Box 537901 Livonia                                                                                  $9,000
 Livonia, MI 48153
 Real Time Solutions (SPS Mortgage)                                     03/01/2007                      Home Located at 17688 79th Place North Maple
 PO Box 35888                                                                                           Grove, MN 55311 $350,000
 Dallas, TX 75235

                6. Assignments and receiverships

    None        a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None        b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF          DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER                  PROPERTY

                7. Gifts

    None        List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                         DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT        VALUE OF GIFT

                8. Losses

    None        List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS          DATE OF LOSS




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                9. Payments related to debt counseling or bankruptcy

    None        List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                 OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                               OF PROPERTY
 Butwinick Law Office                                                                                                   $1,200.00
 1595 Bohland Avenue
 55116
 Allen Credit Counseling                                                                                                $75



                10. Other transfers

    None        a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
      RELATIONSHIP TO DEBTOR                                                    DATE                        AND VALUE RECEIVED
 Unknown                                                                        9/08 to 12/08        Snowmobile - $2500
                                                                                                     Garage Sale / Cragislist (Furniture, jewelery,
                                                                                                     household goods) - $3000

    None        b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

                11. Closed financial accounts

    None        List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                   OR CLOSING

                12. Safe deposit boxes

    None        List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION                DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                 SURRENDER, IF ANY




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                13. Setoffs

    None        List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

                14. Property held for another person

    None        List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

                15. Prior address of debtor

    None        If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

                16. Spouses and Former Spouses

    None        If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
                Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                the community property state.

 NAME
 Carrie Roseth
 03/21/1998

                17. Environmental Information.

                For the purpose of this question, the following definitions apply:

                "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited
                to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None        a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be
                liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if
                known, the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                   LAW

    None        b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                  ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                   LAW




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    None        c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                          STATUS OR DISPOSITION

                18 . Nature, location and name of business

    None        a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity
                securities within six years immediately preceding the commencement of this case.

                If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                years immediately preceding the commencement of this case.

                If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                years immediately preceding the commencement of this case.

                     LAST FOUR DIGITS OF
                     SOCIAL-SECURITY OR
                     OTHER INDIVIDUAL
                     TAXPAYER-I.D. NO.                                                                                              BEGINNING AND
 NAME                (ITIN)/ COMPLETE EIN                                  ADDRESS                 NATURE OF BUSINESS               ENDING DATES
 Guaranteed Mortgage XX-XXXXXXX                                            11220 Lambert Ct NE     Mortgage Broker                  Dec. 2000 to July
 of Minnesota, Inc                                                         Hanover, MN 55341                                        2007
 Regal Custom                        XX-XXXXXXX                            11220 Lambert Ct. NE    Construction                     March 2005 - July
 Homes, Inc                                                                Hanover, MN 55341                                        2007

    None        b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

                19. Books, records and financial statements

    None        a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
                supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                           DATES SERVICES RENDERED

    None        b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the
                books of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                              DATES SERVICES RENDERED




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    None        c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
                of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None        d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
                issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

                20. Inventories

    None        a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
                and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None        b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

                21 . Current Partners, Officers, Directors and Shareholders

    None        a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None        b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
                controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

                22 . Former partners, officers, directors and shareholders

    None        a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
                commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None        b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
                immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

                23 . Withdrawals from a partnership or distributions by a corporation

    None        If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
                in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
                commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY




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                24. Tax Consolidation Group.

    None        If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
                group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
                of the case.

 NAME OF PARENT CORPORATION                                                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)

                25. Pension Funds.

    None        If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
                employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date February 19, 2009                                                         Signature    /s/ Jeremy Jay Roseth
                                                                                             Jeremy Jay Roseth
                                                                                             Debtor


 Date February 19, 2009                                                         Signature    /s/ Carrie Lea Roseth
                                                                                             Carrie Lea Roseth
                                                                                             Joint Debtor

                     Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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4. Suits and administrative proceedings, executions, garnishments, and attachments

Caption Of Suit / Case     Nature of              Court or Agency          Status or
Number                     Proceeding             and Location             Disposition
Firm File # 00042731       Demand for             State of MN              Summons and
DS Erickson                Judgment $163.05       10th Judicial District   Complaint Jan. 16th
                           Partners In                                     2009
                           Pediatrics
Court File No 51-CV-06-    Default Judgment       State of MN 5th          Default Judgment
41-0 / Civil               Tutt Construction      Judicial District
                           $332,874.33
Court File No 51-CV-07-    Default Judgment       State of MN 5th          Default Judgment
369 / Civil                Tutt Construction      Judicial District
                           $355,503.75
Court File No 86-CV-08-    Foreclosure / Breach State of MN 10th           Judgment
4984                       of Contract Lakeland Judicial District
                           Construction
                           Finance $6,630,000
NSC/08-69625               Summons Judgment       State of MN 10th         Judgment
                           $5,718.25 + $645.32    Judicial District
                           Capital One Bank
Firm File 607338-16        Default Judgment       State of MN 10th         Judgment
The Rose Law Firm          $519.00 W/H            Judicial District
                           Electric
Firm File YS4302           Summons for            State of MN 10th         Judgment
Lofstrom Law Firm          Default Judgment       Judicial District
                           $1,309.52 Park
                           Dental Edina
Court File No 27 CV 07-    Judgment $26,463       State of MN 4th          Judgment
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25780                        M&D Plumbing          Judicial District
Case No 27-CV-06-            Judgment              State of MN 4th     Judgment
18508 Mechanics Lien         $32,035.44            Judicial District
Foreclosure                  Imperial Developers
Case No                      Judgment $4,716.87    State of MN 4th     Judgment
080320015/Conciliation Custom Door Sales           Judicial District
Court
Case No 27-CV-06-            Judgment              State of MN 4th     Judgment
18508 Civil Mechanics        $60,847.76            Judicial District
Lien Foreclosure /           Merit Drywall
Judgment
Summons and                  Judgment              State of MN 10th    Judgment
Complaint / Contract         $11,181.74            Judicial District
Rinke Noonan                 Judgment              State of MN 4th     Judgment
Simonson Lumber              $210,000              Judicial District
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B8 (Form 8) (12/08)

                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                                     Case No.
                                                                                           Debtor(s)               Chapter     7


                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                           Describe Property Securing Debt:
 American Home Mtg Srv                                                                      Other: Home that I built was foreclosed
                                                                                            Location: 5912 Vernon Ave S Edina, MN 55436

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt

 Property No. 2

 Creditor's Name:                                                                           Describe Property Securing Debt:
 Harris N.a.                                                                                Auto: 2004 Jeep Liberty 45,000+ miles good condition
                                                                                            Location: 11220 Lambert Ct NE, Hanover MN

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                      Not claimed as exempt




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 Property No. 3

 Creditor's Name:                                                                          Describe Property Securing Debt:
 M & I Bank                                                                                Other: Office Building. Have not heard on this foreclosure
                                                                                           was done as an SBA loan through M & I Bank
                                                                                           Location: 5501 Bass Lake Rd Crystal, MN

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

 Property No. 4

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Real Time Resolutions                                                                     Residence: Primary residence was foreclosed
                                                                                           Location: 17688 79th Pl N Maple Grove, MN 55311

 Property will be (check one):
        Surrendered                                                             Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                    Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                   Describe Leased Property:                    Lease will be Assumed pursuant to 11
 -NONE-                                                                                                        U.S.C. § 365(p)(2):
                                                                                                                  YES              NO




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I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
and/or personal property subject to an unexpired lease.


 Date February 19, 2009                                                        Signature   /s/ Jeremy Jay Roseth
                                                                                           Jeremy Jay Roseth
                                                                                           Debtor


 Date February 19, 2009                                                        Signature   /s/ Carrie Lea Roseth
                                                                                           Carrie Lea Roseth
                                                                                           Joint Debtor




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                                          Form 1007-1 - Statement Of Compensation By Debtor's Attorney

                                                                  United States Bankruptcy Court
                                                                                District of Minnesota
             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                                      Case No.
                                                                                          Debtor(s)                 Chapter    7


                               STATEMENT OF COMPENSATION BY ATTORNEY FOR DEBTOR(S)

The undersigned, pursuant to Local Rule 1007-1, Bankruptcy Rule 2016(b) and § 329(a) of the Bankruptcy Code, states
that:
              1.           The undersigned is the attorney for the debtor(s) in this case and files this statement as required by
                           applicable rules.

              2.           (a) The filing fee paid by the undersigned to the clerk for the debtor(s) in this case is:                    $            299.00

                           (b) The compensation paid or agreed to be paid by the debtor(s) to the undersigned is:                        $          1,200.00

                           (c) Prior to filing this statement, the debtor(s) paid to the undersigned:                                    $          1,200.00

                           (d) The unpaid balance due and payable by the debtor(s) to the undersigned is:                                $                0.00

              3.           The services rendered or to be rendered include the following:
                              (a) analysis of the financial situation and rendering advice and assistance to the debtor in determining
                                  whether to file a petition under Title 11 of the United States Code;
                              (b) preparation and filing of the petition, exhibits, attachments, schedules, statements and lists and
                                  other documents required by the court;
                              (c) representation of the debtor(s) at the meeting of creditors;
                              (d) other services reasonably necessary to represent the debtor(s) in this case.
              4.           The source of all payments by the debtor(s) to the undersigned was or will be from earnings or other
                           current compensation of the debtor(s), and the undersigned has not received and will not receive any
                           transfer of property other than such payments by the debtor(s), except as follows:


              5.           The undersigned has not shared or agreed to share with any other person other than with members of
                           undersigned's law firm any compensation paid or to be paid.




 Dated: February 19, 2009                                                        Signed: /s/ Jeffrey H. Butwinick
                                                                                          Jeffrey H. Butwinick 0342208
                                                                                          Attorney for Debtor(s)
                                                                                          Butwinick Law Office
                                                                                          1595 Bohland Avenue
                                                                                          651-210-5055 Fax: 651-204-6775
LOCAL RULE REFERENCE: 1007-1




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                                                          UNITED STATES BANKRUPTCY COURT
                                                               DISTRICT OF MINNESOTA

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types
of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney
General may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure
that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any
changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each
notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that
each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon
your income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Jeffrey H. Butwinick 0342208                                                              X /s/ Jeffrey H. Butwinick                February 19, 2009
Printed Name of Attorney                                                                     Signature of Attorney                   Date
Address:
1595 Bohland Avenue
651-210-5055
jeff@butwinicklaw.com

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Jeremy Jay Roseth
 Carrie Lea Roseth                                                                         X /s/ Jeremy Jay Roseth                   February 19, 2009
 Printed Name(s) of Debtor(s)                                                                Signature of Debtor                     Date

 Case No. (if known)                                                                       X /s/ Carrie Lea Roseth                   February 19, 2009
                                                                                             Signature of Joint Debtor (if any)      Date




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             Jeremy Jay Roseth
 In re       Carrie Lea Roseth                                                                           Case No.
                                                                                             Debtor(s)   Chapter    7




                                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: February 19, 2009                                                        /s/ Jeremy Jay Roseth
                                                                                Jeremy Jay Roseth
                                                                                Signature of Debtor

 Date: February 19, 2009                                                        /s/ Carrie Lea Roseth
                                                                                Carrie Lea Roseth
                                                                                Signature of Debtor




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                      ABC
                      18800 WEST 78TH STREET PO BOX 0950
                      CHANHASSEN MN 55317



                      ABC
                      352 3RD ST EXCELSIOR, MN 55331
                      EXCELSIOR MN 55331



                      ALLEGRA
                      8455 XERXES AVENUE NORTH
                      BROOKLYN PARK MN 55444



                      AMERICAN ACCOUNTS ADVISERS(PARTNERS / CL
                      3904 CEDARVALE DRIVE
                      EAGAN MN 55122



                      AMERICAN HOME MTG SRV
                      ATTN: BANKRUPTCY
                      4600 REGENT BLVD
                      IRVING TX 75063



                      BABCOCK NEILSON MANNELLA KLINT
                      118 EAST MAIN STREET
                      ANOKA MN 55303



                      BANK OF AMERICA
                      PO BOX 15726 WILLMINGTON, DE 19886-5726
                      WILLMINGTON DE 19886-5726



                      BCA INC
                      PO BOX 60 MONTICELLO, MN 55362
                      MONTICELLO MN 55362



                      BEAUDRY OIL
                      630 PROCTOR AVE
                      ELK RIVER MN 55330
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                  BERQUIST AND SONS
                  8579 BOWER COURT EAST
                  INVER GROVE HEIGHTS MN 55076



                  BIORN CORPORATION
                  PO BOX 464 ROCKFORD
                  ROCKFORD MN 55373



                  BLUE CROSS BLUE SHIELD
                  3535 BLUE CROSS ROAD ROUTE M103
                  EAGAN MN 55122



                  BLUE CROSS BLUE SHIELD
                  3535 BLUE CROSS ROAD ROUTE M103
                  EAGAN MN 55122



                  BUFFALO CLINIC
                  11091 JASON AVE NE
                  ALBERTVILLE MN 55301



                  CACH LLC
                  ATTENTION: BANKRUPTCY DEPARTMENT
                  4340 SOUTH MONACO ST. 2ND FLOOR
                  DENVER CO 80237



                  CALVARY PORTFOLIO SERVICES
                  ATTENTION: BANKRUPTCY DEPARTMENT
                  PO BOX 1017
                  HAWTHORNE NY 10532



                  CAPITAL 1 BANK
                  ATTN: C/O TSYS DEBT MANAGEMENT
                  PO BOX 5155
                  NORCROSS GA 30091



                  CAPITAL ONE BANK
                  PO BOX 60024
                  INDUSTRY CA 91716
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                  CAPITAL ONE BANK
                  PO BOX 60024 INDUSTRY
                  INDUSTRY CA 91716



                  CAPITAL ONE BANK
                  PO BOX 60024 INDUSTRY, CA 91716
                  INDUSTRY CA 91716



                  CENTERPOINT ENERGY
                  PO BOX 1144
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144 MINNEAPOLIS, MN 55440
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144
                  MINNEAPOLIS MN 55440



                  CENTERPOINT ENERGY
                  PO BOX 1144 MINNEAPOLIS, MN 55440
                  MINNEAPOLIS MN 55440
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                  CHASE - CC
                  ATTENTION: BANKTRUPTCY DEPARTMENT
                  PO BOX 15298
                  WILMINTGON DE 19850



                  CHEXSYSTEMS
                  TRUST DEPT. 2691
                  LOS ANGELES CA 90084-2691



                  CITY OF CRYSTAL
                  4141 DOUGLAS DRIVE N
                  CRYSTAL MN 55422



                  CITY OF EDINA
                  4801 WEST 50TH ST.
                  EDINA MN 55424



                  CITY OF MAPLE GROVE
                  PO BOX 1180
                  MAPLE GROVE MN 55311



                  CITY OF MINNEAPOLIS
                  250 S. FOURTH ST. #230
                  MINNEAPOLIS MN 55415



                  CITY OF MINNEAPOLIS
                  PO BOX 15027
                  MINNEAPOLIS MN 55415



                  CITY OF OTSEGO
                  8899 NASHUA AVENUE NE
                  OTSEGO MN 55330



                  CMI (MEYERS INTERNET)
                  PO BOX 28851 PHILADELPHIA, PA 19151
                  PHILADELPHIA PA 19151
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                  CONNEXUS ENERGY
                  PO BOX 1808
                  MINNEAPOLIS MN 55480



                  COUNTY MATERIALS CORPORATION
                  205 NORTH STREET PO BOX 100 MARATHON, WI
                  MARATHON WI 54448



                  CREDIT COLLECTION SERVICES (ALLSTATE)
                  PO BOX 52677
                  PHOENIX AZ 85072



                  CREDIT COLLECTION SERVICES(LIBERTY MUT.)
                  TWO WELLS AVENUE, DEPT. 9134
                  NEWTON MN 02459



                  CW HOULE
                  1300 WEST COUNTY ROAD I
                  SHOREVIEW MN 55126



                  D.S. ERICKSON (CULLIGAN WATER)
                  30 NORTH FIRST STREET #400
                  MINNEAPOLIS MN 55401



                  D.S. ERICKSON (NORTH CLINIC)
                  30 NORTH FIRST STREET #400
                  MINNEAPOLIS MN 55401



                  DAVES FLOOR SANDING
                  1451 92ND LANE NE
                  BLAINE MN 55449



                  DIRECT TV
                  PO BOX 78626 PHOENIX, AZ 85062-8626
                  PHOENIX AZ 85062-8626
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                  DJ'S COMPANIES INC
                  6060 LABEAUX AVENU NE ALBERTVILLE
                  ALBERTVILLE MN 55301



                  DML INC PLUMBING
                  8529 LAKE JANE TRAIL N LAKE ELMO, MN 550
                  LAKE ELMO MN 55042



                  DONALD WILLEKE (JAFFERT MUELLER)
                  201 RIDGEWOOD AVENUE
                  MINNEAPOLIS MN 55403



                  EMBARQ
                  PO BOX 660068
                  DALLAS TX 75266-0068



                  EMC MORTGAGE
                  ATTENTION: BANKRUPTCY CLERK
                  PO BOX 293150
                  LEWISVILLE TX 75029



                  ERICKSON PLUMBING
                  1471 92ND LANE NE BLAINE MN 55449
                  BLAINE MN 55449



                  ERS SOLUTIONS (CENTERPOINT)
                  PO BOX 9004 RENTON WA 98057
                  RENTON WA 98057



                  EXCEL ENERGY
                  PO BOX 9477
                  MINNEAPOLIS MN 55484



                  EXCEL ENERGY
                  PO BOX 9477
                  MINNEAPOLIS MN 55484
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                  EXCEL ENERGY
                  PO BOX 9477 MINNEAPOLIS, MN 55484
                  MINNEAPOLIS MN 55484



                  EXCEL ENERGY
                  PO BOX 9477 MINNEAPOLIS, MN 55484
                  MINNEAPOLIS MN 55484



                  EXCEL ENERGY
                  PO BOX 9477
                  MINNEAPOLIS MN 55484



                  FINANCIAL NETWORK RECOVERY (CORE LOGIC)
                  PO BOX 940730
                  SIMI VALLEY CA 93094



                  FIRST COLLECTION SERVICES(CENTERPOINT)
                  10925 OTTER CREEK E BLVD
                  MABELVALE AR 72103



                  FIRST MINNESOTA BANK
                  106 E 4TH ST PO BOX 960
                  MONTICELLO MN 55362



                  FIRST PREMIER BANK
                  601 S MINNESOTA AVE
                  SIOUX FALLS SD 57104



                  FORD CREDIT
                  PO BOX 6508
                  MESA AZ 85216



                  FORD MOTOR CREDIT CORPORATION
                  NATIONAL BANKRUPTCY CENTER
                  PO BOX 537901
                  LIVONIA MI 48153
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                  GREENSPAN & DOUGLAS (CROIX DESIGN)
                  2921 E. FT LOWELL RD #113
                  TUCSON AZ 85716



                  GRIES & LENHARDT (FINAL TOUCH EXCAVATING
                  12725 43RD ST. NE #201 ST. MICHAEL, MN 5
                  ST. MICHAEL MN 55376



                  HARRIS N.A.
                  111 W MONROE ST
                  CHICAGO IL 60690



                  HENNEPIN COUNTY TREASURER
                  A600 GOVERNMENT CENTER
                  MINNEAPOLIS MN 55487



                  HIGGS FLETCHER & MACK
                  401 WEST A. STREET #2600 PO BOX 120568
                  SAN DIEGO CA 92112



                  INTEGRA
                  1201 NE LOYD BLVD #500 PORTLAND, OR 9723
                  PORTLAND OR 97232



                  IRS
                  PO BOX 9941 STOP 5300
                  OGDEN UT 84409



                  JOINT POWERS
                  11100 50TH ST. NE ALBERTVILLE, MN 55301
                  ALBERTVILLE MN 55301



                  KENNETH SCHIVONE (GE CAPITAL)
                  1942 LEXINGTON AVE NORTH SUITE 1 ROSEVIL
                  ROSEVILLE MN 55113
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                  LAFOND APPRAISALS
                  5619 DUNLAP AVE SHOREVIEW, MN 55126
                  SHOREVIEW MN 55126



                  LAKELAND CONSTRUCTION FINANCE
                  7830 MAIN STREET #210
                  MAPLE GROVE MN 55369



                  LAND AMERICA
                  2 CONCOURSE PKWY #400
                  ATLANTA GA 30328



                  LANDSAFE
                  PO BOX 650530
                  DALLAS TX 75265-9407



                  LESLIE A. ANDERSON
                  3300 CTY ROAD 10 SUITE 510
                  BROOKLYN CENTER MN 55429



                  LOFSTROM LAW FIRM (PARK DENTAL)
                  PO BOX 21123
                  COLUMBIA HEIGHTS MN 55421



                  LOT SURVEYS
                  7601 73RD AVE N MINNEAPOLIS, MN 55428
                  MINNEAPOLIS MN 55428



                  LTD FINANCIAL SERVICES (EMC MORTGAGE)
                  7322 SOUTHWEST FREEWAY #1600
                  HOUSTON TX 77074



                  LYMAN LUMBER
                  PO BOX 130 CHANHASSEN MN 55317
                  CHANHASSEN MN 55317
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                  M & D PLUMBING
                  11050 26TH ST NE
                  ST. MICHAEL MN 55376



                  M & I BANK
                  11915 ELM CREEK BLVD
                  MAPLE GROVE MN 55369



                  MALONE & MELANDER (TUTT CONSTRUCTION)
                  2605 BROADWAY AVE PO BOX 256
                  SLAYTON MN 56127-0256



                  MESSERLI & KRAMER
                  3033 CAMPUS DRIVE #250
                  PLYMOUTH MN 55441



                  MINNEAPOLIS RADIOLOGY
                  2800 CAMPUS DR #10
                  PLYMOUTH MN 55441



                  MINNESOTA REVENUE
                  PO BOX 64651
                  ST. PAUL MN 55164



                  MORGAN STONE & ASSOC. (WATERPROOFING INC
                  1005 VETERANS MEMORIAL BLVD #202
                  KENNER LA 70062



                  NATIONAL CITY BANK
                  PO BOX 500
                  POTAGE MI 49081



                  NATL CITY CREDIT CARD SERVICES
                  ATTENTION: BANKRUPTCY DEPARTMENT
                  6750 MILLER ROAD
                  BRECKSVILLE OH 44141
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                  NCO FINANCIAL SYSTEMS (CENETRPOINT)
                  507 PRUDENTIAL ROAD
                  HORSHAM PA 19044



                  NORTH CLINIC
                  3366 OAKDALE AVENUE NORTH
                  ROBBINSDALE MN 55422



                  NTL RECOVERY
                  14735 HIGHWAY 65 N E
                  HAM LAKE MN 55304



                  PINNACLE FIN
                  7825 WASHINGTON AV
                  MINNEAPOLIS MN 55439



                  PRIME SECURITY BANK
                  1305 VIERLING DRIVE
                  SHAKOPEE MN 55379



                  RANDY'S ENVIRONMENTAL SERVICES
                  PO BOX 1058 DELANO, MN 55328-1058
                  DELANO MN 55328-1058



                  RAY ANDERSON & SONS
                  930 DULUTH STREET ST. PAUL, MN 55106
                  ST. PAUL MN 55106



                  REAL ESTATE BOOK
                  4820 MINNETONKA BLVD #104
                  ST. LOUIS PARK MN 55416



                  REAL TIME RESOLUTIONS
                  1750 REGAL ROW
                  DALLAS TX 75235
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                  RELIANCE RECOVERIES (CHILDERENS HOSPITAL
                  6160 SUMMIT DRIVE SUITE 420 BROOKLYN CEN
                  BROOKLYN CENTER MN 55430



                  RINKE NOONAN (SIMONSON LUMBER)
                  1015 W. ST. GERMAIN STREET
                  ST. CLOUD MN 56302



                  ROSE & ARNESON (WRIGHT HENNEPIN ELECTRIC
                  921 MAINSTREET PO BOX 5560
                  HOPKINS MN 55343



                  SMITH PAULSON ODONNELL (MERIT DRYWALL)
                  PO BOX 668 201 WEST SEVENTH STREET MONTI
                  MONTICELLO MN 55362



                  STATE OF MINNESOTA (CUSTOM DOOR SALES)
                  350 SOUTH 5TH STREET
                  MINNEAPOLIS MN 55415



                  STS CONSULTANTS
                  PO BOX 1238
                  BEDFORD PARK IL 60499



                  SUPERIOR PAINTING
                  9031 VICTORIA GARDENS
                  BROOKLYN PARK MN 55428



                  SVOBODA
                  2477 SHADYWOOD ROAD
                  EXCELSIOR MN 55311



                  TALX
                  4076 PAYSPHERE CIRCLE, IL 60674
                  CIRCLE IL 60674
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                  THE CHILDERENS HEART CLINIC
                  2545 CHICAGO AVE S #106 MINNEAPOLIS, MN
                  MINNEAPOLIS MN 55404



                  TRANSWORD SYSTEMS (CARTIER LIGHTING)
                  1611 WEST COUNTY ROAD B #306
                  ST. PAUL MN 55113



                  TRANSWORD SYSTEMS (CONWAY DEUTH?)
                  1611 WEST COUNTY ROAD B #306
                  ST. PAUL MN 55113



                  UI MINNESOTA
                  PO BOX 64621
                  ST. PAUL MN 55164



                  UI MINNESOTA
                  PO BOX 64621
                  ST. PAUL MN 55164



                  UNITED GUARANTY
                  230 N. ELM STREET/27401 PO BOX 21367
                  GRRENSBORO NC 27420



                  VIKING COLLECTION SERVICES(NATIONAL CITY
                  PO BOX 59207
                  MINNEAPOLIS MN 55459



                  WASTE MANAGEMENT
                  12448 PENNSYLVANIA AVE S
                  SAVAGE MN 55378



                  WELLS SCHLUTER HANSON
                  7300 FRANCE AVE SOUTH #215
                  EDINA MN 55435
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                  WELLS SCHLUTER HANSON
                  7300 FRANCE AVE SOUTH #215
                  EDINA MN 55435



                  WEST ASSET MANAGEMENT
                  PO BOX 2348 SHERMAN, TX 75091
                  SHERMAN TX 75091



                  WRIGHT HENNEPIN ELECTRIC
                  PO BOX 77027 MINNEAPOLIS, MN 55480
                  MINNEAPOLIS MN 55480



                  WRIGHT WAY SHOPOPER
                  PO BOX 5034
                  SIOUX FALLS SD 57117-5034
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        Jeremy Jay Roseth
 In re  Carrie Lea Roseth                                                               According to the information required to be entered on this statement
                           Debtor(s)                                                      (check one box as directed in Part I, III, or VI of this statement):
 Case Number:                                                                                   The presumption arises.
                      (If known)
                                                                                                The presumption does not arise.
                                                                                                The presumption is temporarily inapplicable.


                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                             AND MEANS-TEST CALCULATION
In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointly. Unless the
exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C applies, each joint filer must complete a
separate statement.

                                                  Part I. MILITARY AND NON-CONSUMER DEBTORS
              Disabled Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the beginning of the
              Declaration, (2) check the box for "The presumption does not arise" at the top of this statement, and (3) complete the verification in Part
              VIII. Do not complete any of the remaining parts of this statement.
    1A
                 Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as defined in
              38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as defined in 10 U.S.C. §
              101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
              Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII.
    1B        Do not complete any of the remaining parts of this statement.
                  Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.
              Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component of the Armed
              Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C. § 101(d)(1)) after September 11,
              2001, for a period of at least 90 days, or who have performed homeland defense activity (as defined in 32 U.S.C. § 901(1)) for a period of
              at least 90 days, are excluded from all forms of means testing during the time of active duty or homeland defense activity and for 540
              days thereafter (the "exclusion period"). If you qualify for this temporary exclusion, (1) check the appropriate boxes and complete any
              required information in the Declaration of Reservists and National Guard Members below, (2) check the box for "The presumption is
              temporarily inapplicable" at the top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you
              are not required to complete the balance of this form, but you must complete the form no later than 14 days after the date on
              which your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case
              before your exclusion period ends.
                 Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries below, I declare
    1C        that I am eligible for a temporary exclusion from means testing because, as a member of a reserve component of the Armed Forces or the
              National Guard

                                        a.       I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                        I remain on active duty /or/
                                                        I was released from active duty on        , which is less than 540 days before this bankruptcy case was
                                        filed;

                                                     OR

                                        b.      I am performing homeland defense activity for a period of at least 90 days /or/
                                               I performed homeland defense activity for a period of at least 90 days, terminating on        , which is less than
                                             540 days before this bankruptcy case was filed.




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                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
              a.   Unmarried. Complete only Column A ("Debtor's Income") for Lines 3-11.
              b.   Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under penalty of
                 perjury: "My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are living apart other than
     2           for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code." Complete only column A ("Debtor's
                 Income") for Lines 3-11.
              c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both Column A
                 ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              d.      Married, filing jointly. Complete both Column A ("Debtor's Income") and Column B ("Spouse's Income") for Lines 3-11.
              All figures must reflect average monthly income received from all sources, derived during the six Column A       Column B
              calendar months prior to filing the bankruptcy case, ending on the last day of the month before
              the filing. If the amount of monthly income varied during the six months, you must divide the      Debtor's      Spouse's
              six-month total by six, and enter the result on the appropriate line.                              Income         Income

     3        Gross wages, salary, tips, bonuses, overtime, commissions.                                       $            0.00 $            590.00
              Income from the operation of a business, profession or farm. Subtract Line b from Line a and
              enter the difference in the appropriate column(s) of Line 4. If you operate more than one
              business, profession or farm, enter aggregate numbers and provide details on an attachment. Do
              not enter a number less than zero. Do not include any part of the business expenses entered
     4        on Line b as a deduction in Part V.
                                                                          Debtor                 Spouse
               a.     Gross receipts                               $               0.00 $                 0.00
               b.     Ordinary and necessary business expenses $                   0.00 $                 0.00
               c.     Business income                              Subtract Line b from Line a                 $            0.00 $                0.00
              Rents and other real property income. Subtract Line b from Line a and enter the difference in
              the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include any
              part of the operating expenses entered on Line b as a deduction in Part V.
                                                                          Debtor                 Spouse
     5
               a.     Gross receipts                               $                0.00 $                0.00
               b.     Ordinary and necessary operating             $                0.00 $                0.00
                      expenses
               c.     Rent and other real property income          Subtract Line b from Line a                 $            0.00 $                0.00
     6        Interest, dividends, and royalties.                                                               $           0.00 $                0.00
     7        Pension and retirement income.                                                                 $              0.00 $                0.00
              Any amounts paid by another person or entity, on a regular basis, for the household
              expenses of the debtor or the debtor's dependents, including child support paid for that
     8
              purpose. Do not include alimony or separate maintenance payments or amounts paid by your
              spouse if Column B is completed.                                                               $              0.00 $                0.00
              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
              However, if you contend that unemployment compensation received by you or your spouse was a
              benefit under the Social Security Act, do not list the amount of such compensation in Column A
     9        or B, but instead state the amount in the space below:
               Unemployment compensation claimed to
               be a benefit under the Social Security Act Debtor $                     0.00 Spouse $    0.00    $           0.00 $                0.00
              Income from all other sources. Specify source and amount. If necessary, list additional sources
              on a separate page. Do not include alimony or separate maintenance payments paid by your
              spouse if Column B is completed, but include all other payments of alimony or separate
              maintenance. Do not include any benefits received under the Social Security Act or payments
              received as a victim of a war crime, crime against humanity, or as a victim of international or
    10        domestic terrorism.
                                                                        Debtor                    Spouse
               a.                                                 $                       $
               b.                                                 $                       $
              Total and enter on Line 10                                                                        $           0.00 $                0.00
              Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A, and,
    11
              if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s).                 $           0.00 $            590.00


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              Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add Line 11,
    12        Column A to Line 11, Column B, and enter the total. If Column B has not been completed, enter
              the amount from Line 11, Column A.                                                            $                                   590.00

                                                   Part III. APPLICATION OF § 707(b)(7) EXCLUSION
              Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number 12 and
    13
              enter the result.                                                                                                     $          7,080.00
              Applicable median family income. Enter the median family income for the applicable state and household size.
    14        (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
               a. Enter debtor's state of residence:                       MN          b. Enter debtor's household size:   4        $        84,394.00
              Application of Section 707(b)(7). Check the applicable box and proceed as directed.
                  The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for "The presumption does not arise" at the
    15
                  top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.
                  The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement.
                                       Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

                           Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
    16        Enter the amount from Line 12.                                                                                        $
              Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in Line 11,
              Column B that was NOT paid on a regular basis for the household expenses of the debtor or the debtor's
              dependents. Specify in the lines below the basis for excluding the Column B income (such as payment of the
              spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's dependents) and the
              amount of income devoted to each purpose. If necessary, list additional adjustments on a separate page. If you did
    17        not check box at Line 2.c, enter zero.
               a.                                                                                    $
               b.                                                                                    $
               c.                                                                                    $
               d.                                                                                    $
              Total and enter on Line 17                                                                                            $
    18        Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                           $

                                           Part V. CALCULATION OF DEDUCTIONS FROM INCOME
                                    Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
              National Standards: food, clothing and other items. Enter in Line 19A the "Total" amount from IRS National
   19A        Standards for Food, Clothing and Other Items for the applicable household size. (This information is available at
              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                     $
              National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-of-
              Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-of-Pocket
              Health Care for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
              clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are under 65 years
              of age, and enter in Line b2 the number of members of your household who are 65 years of age or older. (The total
              number of household members must be the same as the number stated in Line 14b.) Multiply Line a1 by Line b1 to
   19B        obtain a total amount for household members under 65, and enter the result in Line c1. Multiply Line a2 by Line
              b2 to obtain a total amount for household members 65 and older, and enter the result in Line c2. Add Lines c1 and
              c2 to obtain a total health care amount, and enter the result in Line 19B.
                    Household members under 65 years of age                  Household members 65 years of age or older
               a1.     Allowance per member                              a2.      Allowance per member
               b1.     Number of members                                 b2.      Number of members
               c1.     Subtotal                                          c2.      Subtotal                                       $
              Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
   20A        Utilities Standards; non-mortgage expenses for the applicable county and household size. (This information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                        $




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              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the IRS
              Housing and Utilities Standards; mortgage/rent expense for your county and household size (this information is
              available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average
              Monthly Payments for any debts secured by your home, as stated in Line 42; subtract Line b from Line a and enter
   20B        the result in Line 20B. Do not enter an amount less than zero.
               a.       IRS Housing and Utilities Standards; mortgage/rental expense    $
               b.       Average Monthly Payment for any debts secured by your
                        home, if any, as stated in Line 42                              $
               c.       Net mortgage/rental expense                                     Subtract Line b from Line a.                 $
              Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A and
              20B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities
    21        Standards, enter any additional amount to which you contend you are entitled, and state the basis for your
              contention in the space below:
                                                                                                                                     $
              Local Standards: transportation; vehicle operation/public transportation expense.
              You are entitled to an expense allowance in this category regardless of whether you pay the expenses of operating
              a vehicle and regardless of whether you use public transportation.
              Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are
              included as a contribution to your household expenses in Line 8.
   22A
                    0      1        2 or more.
              If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
              Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from IRS Local
              Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan Statistical Area or
              Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)          $
              Local Standards: transportation; additional public transportation expense. If you pay the operating expenses
              for a vehicle and also use public transportation, and you contend that you are entitled to an additional deduction for
   22B        you public transportation expenses, enter on Line 22B the "Public Transportation" amount from IRS Local
              Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
              court.)                                                                                                                $
              Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for which
              you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
              vehicles.)
                    1      2 or more.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
    23        (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
              Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from Line a
              and enter the result in Line 23. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                  $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       1, as stated in Line 42                                        $
               c.       Net ownership/lease expense for Vehicle 1                      Subtract Line b from Line a.                  $
              Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you checked
              the "2 or more" Box in Line 23.
              Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
              (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
              Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from Line a
    24
              and enter the result in Line 24. Do not enter an amount less than zero.
               a.       IRS Transportation Standards, Ownership Costs                  $
                        Average Monthly Payment for any debts secured by Vehicle
               b.       2, as stated in Line 42                                        $
               c.       Net ownership/lease expense for Vehicle 2                      Subtract Line b from Line a.                  $
              Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
    25        state and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
              security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                         $




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              Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly payroll
    26        deductions that are required for your employment, such as retirement contributions, union dues, and uniform costs.
              Do not include discretionary amounts, such as voluntary 401(k) contributions.                                      $
              Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for term
    27        life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for
              any other form of insurance.                                                                                  $
              Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
    28        pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do not
              include payments on past due obligations included in Line 44.                                                            $
              Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
              Enter the total average monthly amount that you actually expend for education that is a condition of employment
    29
              and for education that is required for a physically or mentally challenged dependent child for whom no public
              education providing similar services is available.                                                                       $
              Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
    30
              childcare - such as baby-sitting, day care, nursery and preschool. Do not include other educational payments.            $
              Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend on
              health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed by
    31
              insurance or paid by a health savings account, and that is in excess of the amount entered in Line 19B. Do not
              include payments for health insurance or health savings accounts listed in Line 34.                                      $
              Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
              actually pay for telecommunication services other than your basic home telephone and cell phone service - such as
    32
              pagers, call waiting, caller id, special long distance, or internet service - to the extent necessary for your health and
              welfare or that of your dependents. Do not include any amount previously deducted.                                        $
    33        Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.                                      $
                                                       Subpart B: Additional Living Expense Deductions
                                       Note: Do not include any expenses that you have listed in Lines 19-32
              Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly expenses in
              the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or your
              dependents.
    34
               a.         Health Insurance                                             $
               b.         Disability Insurance                                         $
               c.         Health Savings Account                                       $                                               $
              Total and enter on Line 34.
              If you do not actually expend this total amount, state your actual total average monthly expenditures in the
              space below:
              $
              Continued contributions to the care of household or family members. Enter the total average actual monthly
              expenses that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically
    35
              ill, or disabled member of your household or member of your immediate family who is unable to pay for such
              expenses.                                                                                                                $
              Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
    36        actually incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
              other applicable federal law. The nature of these expenses is required to be kept confidential by the court.             $
              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
              Standards for Housing and Utilities, that you actually expend for home energy costs. You must provide your
    37
              case trustee with documentation of your actual expenses, and you must demonstrate that the additional
              amount claimed is reasonable and necessary.                                                                              $
              Education expenses for dependent children less than 18. Enter the total average monthly expenses that you
              actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or secondary
    38        school by your dependent children less than 18 years of age. You must provide your case trustee with
              documentation of your actual expenses, and you must explain why the amount claimed is reasonable and
              necessary and not already accounted for in the IRS Standards.                                                            $

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              Additional food and clothing expense. Enter the total average monthly amount by which your food and clothing
              expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS National
    39        Standards, not to exceed 5% of those combined allowances. (This information is available at www.usdoj.gov/ust/
              or from the clerk of the bankruptcy court.) You must demonstrate that the additional amount claimed is
              reasonable and necessary.                                                                                             $
              Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
    40
              financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                      $
    41        Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40                            $
                                                              Subpart C: Deductions for Debt Payment
              Future payments on secured claims. For each of your debts that is secured by an interest in property that you
              own, list the name of the creditor, identify the property securing the debt, and state the Average Monthly Payment,
              and check whether the payment includes taxes or insurance. The Average Monthly Payment is the total of all
    42
              amounts scheduled as contractually due to each Secured Creditor in the 60 months following the filing of the
              bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the total of the
              Average Monthly Payments on Line 42.
                    Name of Creditor                    Property Securing the Debt              Average Monthly Does payment
                                                                                                         Payment include taxes
                                                                                                                   or insurance?
                a.                                                                            $                       yes no
                                                                                               Total: Add Lines                     $
              Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary residence, a
              motor vehicle, or other property necessary for your support or the support of your dependents, you may include in
              your deduction 1/60th of any amount (the "cure amount") that you must pay the creditor in addition to the
    43
              payments listed in Line 42, in order to maintain possession of the property. The cure amount would include any
              sums in default that must be paid in order to avoid repossession or foreclosure. List and total any such amounts in
              the following chart. If necessary, list additional entries on a separate page.
                     Name of Creditor                   Property Securing the Debt                    1/60th of the Cure Amount
                a.                                                                              $
                                                                                                                Total: Add Lines    $
              Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
    44        priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing. Do
              not include current obligations, such as those set out in Line 28.                                                  $
              Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
              chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative expense.

               a.        Projected average monthly Chapter 13 plan payment.                  $
    45         b.        Current multiplier for your district as determined under schedules
                         issued by the Executive Office for United States Trustees. (This
                         information is available at www.usdoj.gov/ust/ or from the clerk of
                         the bankruptcy court.)                                              x
               c.        Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b          $
    46        Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                            $
                                                             Subpart D: Total Deductions from Income
    47        Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                           $

                                            Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
    48        Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                                $
    49        Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                                     $
    50        Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result.                      $
              60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the number 60 and enter the
    51
              result.                                                                                                               $




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              Initial presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than $6,575. Check the box for "The presumption does not arise" at the top of page 1 of this
              statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
    52
                 The amount set forth on Line 51 is more than $10,950 Check the box for "The presumption arises" at the top of page 1 of this
              statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete the remainder of Part VI.
                    The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53 through 55).
    53        Enter the amount of your total non-priority unsecured debt                                                                           $
    54        Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result.                               $
              Secondary presumption determination. Check the applicable box and proceed as directed.
                 The amount on Line 51 is less than the amount on Line 54. Check the box for "The presumption does not arise" at the top of page
              1 of this statement, and complete the verification in Part VIII.
    55
                 The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for "The presumption arises" at the top
              of page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII.


                                                          Part VII. ADDITIONAL EXPENSE CLAIMS
              Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare
              of you and your family and that you contend should be an additional deduction from your current monthly income under §
              707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for
              each item. Total the expenses.

    56                 Expense Description                                                                                        Monthly Amount
               a.                                                                                               $
               b.                                                                                               $
               c.                                                                                               $
               d.                                                                                               $
                                                                         Total: Add Lines a, b, c, and d        $

                                                                          Part VIII. VERIFICATION
              I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case, both debtors
              must sign.)
                            Date: February 19, 2009                                      Signature: /s/ Jeremy Jay Roseth
                                                                                                       Jeremy Jay Roseth
    57                                                                                                            (Debtor)

                                 Date:      February 19, 2009                                       Signature       /s/ Carrie Lea Roseth
                                                                                                                     Carrie Lea Roseth
                                                                                                                               (Joint Debtor, if any)




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